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11/26/19

Clerk, United States District Court
Martin Luther King Building & U.S. Courthouse
50 Walnut Street Room 4015
Newark, NJ 07101

RE; 2:19-cv-14465-SDW-LDW, F.H. et al v. WEST MORRIS REGIONAL HIGH SCHOOL BOARD
OF EDUCATION

Dear Sir/Madam:

          Attached please find the administrative record on appeal.

          Thank you.

Very truly yours,



JAMIE EPSTEIN

enc.
JE/.2; draft letter,
cc:    counsel (via ecf)
       client




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